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1    JESS R. MARCHESE, ESQ.
     Nevada bar # 8175
2
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3    Las Vegas, NV 89106
     (702) 385-5377 Fax (702) 960-4084.
4    marcheselaw@msn.com
5
     Attorney for Defendant – LESEAN BRADDOCK

6

7                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA
8                                        ***
9
     UNITED STATES OF AMERICA,           )                  2:19-CR-269-JCM
10                                       )
11
                                         )
                 Plaintiff,              )              STIPULATION AND ORDER
12                                       )
     v.                                  )
13
                                         )
14   LESEAN BRADDOCK,                    )
                                         )
15               Defendant.              )
     ____________________________________)
16

17           STIPULATION AND ORDER TO CONTINUE SENTENCING HEARING
18
            IT IS HEREBY STIPULATED AND AGREED by and between JESS R. MARCHESE,
19
     ESQ. Counsel for Defendant LESEAN BRADDOCK and BRIAN WHANG, Assistant United
20
     States Attorney, that sentencing currently scheduled for December 3, 2021 at 10:00 a.m., be
21
     vacated and reset to a date convenient to the court.
22
            This Stipulation is entered into for the following reasons:
23
             1. Counsel for the defendant has spoken to his in-custody client and he has no objection
24

25
                 to the request for continuance.

26           2. Counsel for the defendant has spoken to counsel for the United States and he has no
27
                 objection to the continuance.
28


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1           3. Counsel for the defense has a scheduling conflict on that date and time due to being
2
               in State Court for in-custody matters.
3
            4. For all the above-stated reasons, the ends of justice would best be served by a
4

5
               continuance of the Sentencing Hearing of a date convenient to the court.

6          This is the first request for continuance filed herein.
7                 DATED: December 1, 2021,
8

9

10
     _/S/Jess Marchese                            __/S/Brian Whang
     JESS R MARCHESE, ESQ.                        BRIAN WHANG
11   601 S. Las Vegas Blvd.                       Assistant United States Attorney
     Las Vegas, Nevada 89101                      501 Las Vegas Blvd South #1100
12
     Attorney for Defendant                       Las Vegas, Nevada 89101
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     Attorney for Defendant- LESEAN BRADDOCK

6

7                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
8                                           ***
9
     UNITED STATES OF AMERICA,           )                    2:21-CR-269-JCM
10                                       )
11
                                         )
                 Plaintiff,              )
12                                       )
     v.                                  )
13
                                         )
14   LESEAN BRADDOCK,                    )
                                         )
15               Defendant.              )
     ____________________________________)
16

17
                                             FINDINGS OF FACT
18
             Based on the pending Stipulation of counsel, and good cause appearing therefore, the
19
     Court finds:
20
            This Stipulation is entered into for the following reasons:
21
             1. Counsel for the defendant has spoken to his in-custody client and he has no objection
22

23                  to the request for continuance.

24           2. Counsel for the defendant has spoken to counsel for the United States and he has no
25
                    objection to the continuance.
26
             3. Counsel for the defense has a scheduling conflict on that date and time due to being
27

28
                    in State Court for in-custody matters.

             4. For all the above-stated reasons, the ends of justice would best be served by a
                                                        -3-
         Case 2:19-cr-00269-JCM-EJY Document 160
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1              continuance of the Sentencing Hearing to a date convenient to the court.
2
          This is the first request for continuance filed herein.
3

4

5
                                                ORDER
6
            IT IS HEREBY ORDERED that the Hearing currently scheduled for December 3, 2021,
7
     at 10:00 a.m., be continued to the 10th day of December, 2021 at 11:00 a.m. by video
8
     conference.
9

10
                December
          DATED this ______1,day of December, 2021.
                              2021.
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                                                 ________________________________________
13                                               U.S. DISTRICT JUDGE
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